     Case 10-46222-RG         Doc 46     Filed 01/08/13 Entered 01/09/13 17:30:17              Desc Main
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UNITED STATES BANKRUPTCY COURT                                                         01/08/2013
DISTRICT OF NEW JERSEY
Marie-Ann Greenberg MAG-1284
Marie-Ann Greenberg, Standing Trustee
30 TWO BRIDGES ROAD
SUITE 330
FAIRFIELD, NJ 07004-1550
973-227-2840
Chapter 13 Standing Trustee
                                                             Case No.: 10-46222 RG
IN RE:
  RANDALL S.D. JACOBS                                        Hearing Date: 3/16/2011
  JILL W JACOBS
                                                             Judge: ROSEMARY GAMBARDELLA


                                                             Debtor is Entitled To Discharge

                                   MODIFIED ORDER CONFIRMING PLAN

   The relief set forth on the following pages is hereby ORDERED.




DATED: 01/08/2013
       Case 10-46222-RG          Doc 46      Filed 01/08/13 Entered 01/09/13 17:30:17               Desc Main
                                             Document      Page 2 of 2
 Debtor(s):         RANDALL S.D. JACOBS
                    JILL W JACOBS
 Case No.:         10-46222 RG
 Caption of Order: MODIFIED ORDER CONFIRMING PLAN

        The Plan of the Debtor having been proposed to creditors, and hearing having been held on the Confirmation
of such Plan, and it appearing that the applicable provisions of the Bankruptcy Code and BAPCPA have been
complied with and the bar date for the filing of claims has now expired; and for good cause shown, it is

    ORDERED, that the Order Confirming Plan entered on 03/28/2011 is hereby modified as a result of the
    expiration of the claims bar date and that commencing 12/01/2010 the Debtor shall pay the Standing Trustee
    the sum of $150,993.00 paid into date over 25 month(s), and then commencing 01/01/2013 the sum of
    $5479.00 for a period of 35 month(s); and it is further
    ORDERED, that Student loans to be paid outside the plan.; and it is further
     ORDERED, that all other clauses of the Order Confirming Plan shall remain in full force and effect .




                                           CERTIFICATE OF MAILING

         I HEREBY CERTIFY that on _________________________, 20________, a copy of the foregoing Order
 was served on each of the following:




                                                                                        JAMES J. WALDRON, Clerk




                                                                      Approved by Judge Rosemary Gambardella January 08, 2013
